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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                           MIAMI DIVISION
                     CASE NO. 07-20563-CR-GRAHAM(s)

 UNITED STATES OF AMERICA

                Plaintiff,
 VS .


 FABIAN BERNAL-BENITEZ,

                Defendant.


        ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

         T H I S CAUSE came before the Court upon Defense Counsel's CJA
 Voucher for Attorney's Fees.

        THE MATTER was referred to Magistrate Judge Peter R. Palermo

 on February 29, 2008. A Report and Recommendation was filed on
 March 18, 2008, recommending payment in the amount of $13,583.05
 as to voucher number FLS071848 The Court has conducted a de novo
 review of the entire file. Accordingly, it is
        ORDERED AND ADJUDGED that the Report and Recommendation of
 United States Magistrate Judge Peter R. Palermo, is hereby
 Adopted and Approved in its entirety.


        DONE AND ORDERED in Chambers a
 day of March, 2008.

                                       DONALD L. GRAHAM
                                       UNITED STATES DISTRICT JUDGE



 Copied: Kenneth White,      Esq
